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                                       UNITED STATES BANKRUPTCY COURT
                                                Southern DISTRICT OF Texas
                                                                  Houston


In Re. Alexander E. Jones                                           §                   Case No. 22-33553
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 12/31/2023                                                        Petition Date: 12/02/2023

Months Pending: 13                                                                        Industry Classification:    0   0   0   0

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   3



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Alexander E. Jones                                                       Alexander E. Jones
Signature of Responsible Party                                               Printed Name of Responsible Party
01/23/2024                                                                   c/o Vickie L. Driver
Date                                                                         2525 McKinnon St., 425
                                                                             Dallas, TX 75201
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                         $627,844
b.   Total receipts (net of transfers between accounts)                                      $669,243                 $3,164,667
c.   Total disbursements (net of transfers between accounts)                                 $412,061                 $2,454,680
d.   Cash balance end of month (a+b-c)                                                       $885,026
e.   Disbursements made by third party for the benefit of the estate                                 $0                 $53,472
f.   Total disbursements for quarterly fee calculation (c+e)                                 $412,061                 $2,508,152
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                              $118,139
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))              $307,081
d    Total current assets                                                                  $5,335,143
e.   Total assets                                                                         $12,958,105
f.   Postpetition payables (excluding taxes)                                               $2,221,577
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                               $75,064
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                         $2,296,641
k.   Prepetition secured debt                                                                 $28,366
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                        $0
n.   Total liabilities (debt) (j+k+l+m)                                                    $2,325,007
o.   Ending equity/net worth (e-n)                                                        $10,633,098

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                       $72,000                   $79,350
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                      $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                 $72,000                   $79,350

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                        $572,882
b.   Cost of goods sold (inclusive of depreciation, if applicable)                            $32,039
c.   Gross profit (a-b)                                                                      $540,843
d.   Selling expenses                                                                        $162,426
e.   General and administrative expenses                                                             $0
f.   Other expenses                                                                                  $0
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                           $378,417                 $1,371,155


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Part 5: Professional Fees and Expenses

                                                                                   Approved       Approved       Paid Current       Paid
                                                                                 Current Month   Cumulative         Month         Cumulative
a.      Debtor's professional fees & expenses (bankruptcy) Aggregate Total            $252,220     $4,306,072         $318,461     $2,150,308
        Itemized Breakdown by Firm
                 Firm Name                         Role
        i        See Attached                                                         $252,220     $4,306,072         $318,461     $2,150,308
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                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
b.      Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

        Itemized Breakdown by Firm
                 Firm Name                        Role
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c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                               $12,577                   $197,064
c.   Postpetition employer payroll taxes accrued                                               $2,519                     $70,197
d.   Postpetition employer payroll taxes paid                                                       $0                     $9,058
e.   Postpetition property taxes paid                                                          $9,968                     $65,429
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                    $70,197
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                 Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                        $42,308
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                 $406,729
d.      Total income in the reporting period (a+b+c)                                                        $449,037
e.      Payroll deductions                                                                                   $16,238
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                      $51,122
h.      All other expenses                                                                                  $268,729
i.      Total expenses in the reporting period (e+f+g+h)                                                    $336,089
j.      Difference between total income and total expenses (d-i)                                            $112,948
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Alexander E. Jones                                                          Alexander E. Jones
Signature of Responsible Party                                                  Printed Name of Responsible Party

Individual                                                                      01/23/2024
Title                                                                           Date




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                                               Bankruptcy1to50




                                              Bankruptcy51to100




                                             NonBankruptcy1to50




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